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 7                                  UNITED STATES DISTRICT COURT
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9   BRIAN FISHER,
                                                           NO. 2:09-CV-2843 FCD GGH
10                   Plaintiff,
11           v.                                            ORDER RE: SETTLEMENT AND
                                                           DISPOSITION
12
     NCO FINANCIAL SYSTEMS, INC.,
13
                 Defendant.
14   __________________________________/
15           Pursuant to the representation of the parties, in the above action, the court has determined
16   that this case has settled..
17           In accordance with the provisions of Local Rule 160, dispositional documents are to be
18   filed on or before January 25, 2010. All dates/hearings set in this matter, to include any pending
19   motions, are hereby VACATED.
20           FAILURE TO COMPLY WITH THIS ORDER MAY BE GROUNDS FOR THE
21   IMPOSITION OF SANCTIONS ON ANY AND ALL COUNSEL AS WELL AS ANY
22   PARTY OR PARTIES WHO CAUSE NON-COMPLIANCE WITH THIS ORDER.
23           IT IS SO ORDERED.
24   Dated: December 11, 2009
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                                                FRANK C. DAMRELL, JR.
27                                              UNITED STATES DISTRICT JUDGE
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